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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                         Plaintiff,            )
                                               )
                    v.                         )   No. 1:24-cr-00143-JPH-KMB
                                               )
JAMES WATT,                                    ) -01
                                               )
                         Defendant.            )

                         ENTRY FOR JANUARY 23, 2025

      On this date, James Watt appeared in person and by counsel, Julie L.

Treida and Robert W. Hammerle, for a change of plea and sentencing hearing.

The government appeared by counsel, Assistant United States Attorney Adam

Eakman, with its investigative agent, Special Agents Swope and Klotz. Kendra

Stakelbeck appeared on behalf of the United States Probation Office. The

hearing was recorded by Court Reporter Jodie Franzen.

      Defendant was placed under oath. The Court found that Defendant was

fully competent and able to enter an informed plea; Defendant's plea was

being made knowingly and voluntarily; and the plea was supported by an

independent basis in fact containing each of the essential elements of the

offenses charged. The Court accepted the Plea of Guilty after conducting the

requisite hearing under Federal Rule of Criminal Procedure 11(b). The Court

adjudged Defendant guilty of Counts 1 and 2.

      The Court reviewed the presentence investigation report. There were no

objections to the presentence investigation report. The parties were heard with
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respect to the sentence, application of the Sentencing Guidelines and

application of 18 U.S.C. § 3553(a) factors. For the reasons stated, Defendant

was sentenced to 36 months' probation on each of Counts 1 and 2 to be served

concurrently for a total of 3 years' probation. A fine of $1,000.00 was imposed

with interest waived. A special assessment of $200.00 was imposed and an

order of forfeiture for items listed in the preliminary order of forfeiture. Dkt. 26.

Defendant was released and shall begin his probation sentence immediately.

The Judgment is forthcoming.




Distribution:

All electronic registered counsel.




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